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8
                                UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN JOSE DIVISION
11
12
     TESLA, INC.,                              Case Number: 5:21-cv-01962
13
                 Plaintiff,
14                                             PLAINTIFF TESLA, INC.’S RENEWED
           v.                                  ADMINSTRATIVE MOTION TO SEAL
15                                             PORTIONS OF ITS EX PARTE MOTION
                                               FOR A TEMPORARY RESTRAINING OR-
16   MCKECHNIE VEHICLE COMPO-                  DER AND PRELIMINARY INJUNCTION
17   NENTS USA, INC.; and MVCUSA HOLD-         AND CERTAIN DOCUMENTS IN SUP-
     INGS, LLC,                                PORT THEREOF
18             Defendants.
                                               Judge Beth Labson Freeman
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     Renewed Administrative Motion to Seal                            Case No. 5:21-cv-01962
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1       I.       INTRODUCTION
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              Plaintiff Tesla, Inc. (“Tesla”) filed its original motion to seal certain portions of its Ex Parte
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     Motion for a Temporary Restraining Order and Preliminary Injunction and supporting declarations
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     and exhibits on March 20 (“TRO Papers”). The Court denied Tesla’s motion to seal without preju-
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     dice on April 1. Pursuant to the Court’s order, Tesla files the instant motion seeking much more
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     narrowly tailored sealing of the previously filed TRO Papers to prevent disclosure of highly confi-
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     dential and trade secret information. Specifically, Tesla has removed its request to seal the contract
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     at issue, and has withdrawn its request to seal exhibits in their entirety, instead proposing only nar-
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     row redactions reflecting particular needs for secrecy.
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              Pursuant to Civil Local Rules 7-11 and 79-5, Tesla has identified the information it seeks to
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     seal with particularity in the Declaration of Joseph Alm in Support of Plaintiff Tesla, Inc.’s Admin-
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     istrative Motion to Seal, filed concurrently herewith. As described in the Alm Declaration, Tesla
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     respectfully requests an order from the Court to authorize the filing of the following under seal:
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                 (1)   designated portions of Tesla’s Ex Parte Motion for a Temporary Restraining Order
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                       and Preliminary Injunction;
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                 (2)   designated portions of the Declaration of Lucia Guh-Siesel In Support of Tesla’s
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                       Ex Parte Motion for a Temporary Restraining Order and Preliminary Injunction,
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                       including portions of Exhibit B thereto;
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                 (3)   designated portions of the Declaration of Naga Venugopal Gangaraju In Support of
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                       Tesla’s Ex Parte Motion for a Temporary Restraining Order and Preliminary In-
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                       junction, including portions of Exhibits B through J thereto;
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                 (4)   designated portions of the Declaration of Matthew Gschwind In Support of Tesla’s
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                       Ex Parte Motion for a Temporary Restraining Order and Preliminary Injunction;
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                       and
25
                 (5)   designated portions of the Declaration of Hugh McCabe In Support of Tesla’s Ex
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                       Parte Motion for a Temporary Restraining Order and Preliminary Injunction, in-
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                       cluding portions of Ex. 1 thereto.
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        II.      LEGAL STANDARD


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1        “[T]he courts of this country recognize a general right to inspect and copy public records and
2    documents, including judicial records and documents.” Nixon v. Warner Commc’ns, Inc., 435 U.S.
3    589, 597 & n.7 (1978); see also Foltz v. State Farm Mut. Auto Ins. Co., 331 F.3d 1122, 1135 (9th
4    Cir. 2003) (“In this circuit, we start with a strong presumption in favor of access to court records.)
5    The right, however, “is not absolute and can be overridden given sufficiently compelling reasons
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     for doing so.” Foltz, 331 F.3d at 1135. “A narrow range of documents is not subject to the right of
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     public access at all because the records have traditionally been kept secret for important policy rea-
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     sons.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (internal
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     quotations and citation omitted).
10
         The Ninth Circuit applies two tests to determine whether a party is entitled to file documents
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     under seal: a “compelling reasons” test for potentially dispositive motions and a “good cause” test
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     for “sealed materials attached to a discovery motion unrelated to the merits of [the] case.” Ctr. for
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     Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096-97 (9th Cir. 2016); see also DelfinoGreen
14
15   & Green v. Workers Comp. Sols., LLC, No. 15-cv-2302, 2015 WL 4235356, at *1-2 (N.D. Cal. Jul.

16   13, 2015). Because Plaintiff brings this Motion to Seal in connection with its request only for pro-

17   visional relief, i.e., a temporary restraining order and preliminary injunction, Plaintiff submits that

18   the “good cause” standard should apply. Regardless, under either standard, the information that

19   Tesla seeks to protect satisfies the standards of the Ninth Circuit and this Court for sealing.
20       III.      ARGUMENT
21              There are compelling reasons and good cause to seal the portions of Tesla’s ex parte motion
22   and accompanying documents identified in the attached Alm Declaration. The materials that Tesla
23   seeks to seal fall into five categories:
24               (1)   the monetary amount of Tesla’s loan to MVC;
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                 (2)   Tesla’s confidential payment terms and amounts for tooling, parts, and chargebacks;
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                 (3)   Tesla’s records of inventory, production rate, and use rate of specific parts;
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1             (4)   timing and scope of Tesla’s oncoming service shortage and timing to acquire new
2                   tooling or install old tooling;
3             (5)   functional description of certain Tesla parts’ design purposes.
4           All information that Tesla seeks to seal is kept strictly confidential by Tesla in the ordinary
5    course of business. This information is non-public, proprietary, and highly commercially sensitive.
6
     Indeed, if this information were made public, Tesla would be placed at a severe competitive disad-
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     vantage. Specific disadvantages for each category is listed below:
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              (1)   if made public, the amount and due date of Tesla’s loan to MVC could be used by
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                    other suppliers in similar negotiations, and by competitors when assessing their own
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                    willingness to make loans (or other financial concessions) to suppliers in general,
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                    and MVC in particular, Alm Decl. ¶ 5;
12
              (2)   if made public, Tesla’s payment terms and amounts for tooling, parts, and charge-
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                    backs could be used by suppliers to negotiate pricing against Tesla, and by competi-
14
15                  tors to alter their own pricing, Alm Decl. ¶ 6.

16            (3)   if made public, Tesla’s inventory, production rate, and use rate of specific parts

17                  could be used by suppliers in supply negotiations and by competitors to compete

18                  with Tesla for customers. It could also be used by suppliers to identify expected pro-

19                  duction rates of listed parts, Alm Decl. ¶ 7;
20            (4)   if made public, the timing and scope of Tesla’s oncoming service shortage and tim-
21                  ing to acquire new tooling or install old tooling to produce new parts to mitigate the
22                  shortage (from which the timing of the potentialshortage can be derived), could used
23                  by suppliers in supply negotiations and by competitors to identify opportunities to
24                  acquire Tesla customers. The timing to acquire new tooling or install old tooling to
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                    produce new parts could also be used in supplier negotiations to extract timing or
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                    payment concessions from Tesla, Alm Decl. ¶ 8;
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1              (5)   if made public, the functional description of specific service parts’ design purposes
2                    reveals nonpublic information about specific design elements, as well as the vehi-
3                    cle’s design and engineering, which enable competitors to more easily reverse engi-
4                    neer Tesla designs using these parts, Alm Decl. ¶ 10.
5             And at the same time, the public does not have a meaningful interest in obtaining the infor-
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     mation that Tesla seeks to seal. None of this information is germane to a thorough understanding of
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     Tesla’s lawsuit, the parties’s dispute, or the Court’s order on Tesla’s TRO Motion.
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              Tesla respectfully submits that all of the categories of documents it seeks to protect are seal-
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     able under applicable precedent. For example, in Stout v. Hartford Life & Acc. Ins. Co., No. CV
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     11-6186 CW, 2012 WL 6025770 (N.D. Cal. Dec. 4, 2012), this Court applied the compelling need
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     standard to determine that the defendant’s commercial contracts were properly sealable because,
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     otherwise, the defendant’s competitors could “use this information to adjust their own contracts . . .,
13
     thus undermining [the defendant’s] ability to compete.” Id. at *2. And in Transperfect Glob., Inc.
14
15   v. Motionpoint Corp., No. C 10-2590 CW, 2013 WL 209678 (N.D. Cal. Jan. 17, 2013), the Court

16   permitted sealing under the compelling need standard of confidential information “about [the plain-

17   tiff’s] business operations and technology.” Id. at *1; see also, e.g., In re Elec. Arts, Inc., 298 F.

18   App’x 568, 569 (9th Cir. 2008) (pricing and other contract terms met compelling need standard and

19   warranted sealing under compelling need test). Tesla submits that the five, narrow categories of
20   information it seeks to protect should be sealed for the same reasons: if publicly disclosed, all of
21   this information could undermine Tesla’s ability to compete, negotiate with potential suppliers, and
22   address any potential parts shortage. All of this material is properly sealable under this Court’s
23   rules and precedent.
24      IV.      CONCLUSION
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              Tesla has narrowed the information it wishes to seal only to the most commercially-sensi-
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     tive information that, if disclosed, would cause Tesla competitive harm, and that Tesla maintains at
27
     as strictly confidential in the ordinary course of business. Tesla respectfully requests that the Court
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1    grant Tesla’s administrative motion to seal the information identified in the accompanying Alm
2    Declaration.
3                                                Respectfully submitted,
4    Date: April 8, 2021                         TESLA, INC.
5
                                           By:   /s/
6
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